     Case 2:22-ap-01125-DS                     Doc 250 Filed 01/24/24 Entered 01/24/24 14:56:21                                                Desc
                                                Main Document     Page 1 of 4




 Attorney or Party Name, Address, Telephone & FAX                           FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
     Richard M. Pachulski {CA Bar No. 90073)
     rpachulski@pszjlaw.com
     John W, Lucas(CA Bar No, 271038)
     jlucas@pszjlaw.com
     PACHULSKI STANG ZIEHL & JONES LLP
     10100 Santa Monica Bivd,, 13th Floor
     Los Angeles, California 90067-4100
     Telephone: 310-277-6910
     Facsimile; 310-201-0760




 Attorney for: Yogi Securities Holdings, LLC

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 in re:
                                                                            CASE NO.: 2:21-bk-18205-DS
     CRESTLLOYD, LLC,
                                                                            ADVERSARY NO.:2;22-ap-01125-DS
                                                                            {if applicable)
                                                                            CHAPTER: 11
                                                            Debtor(s).
      INFERNO INVESTMENT, INC.,




                                                           Plaintiff(s)                 SUBSTITUTION OF ATTORNEY
                                   vs.
      CRESTLLOYD, LLC, etal.
                                                                                                     [LBR 2091-1(b)]




                                                       Defendant(s).

1. The name(s) of the party(ies) making this Substitution of Attorney (specify):
    YOGI SECURITIES HOLDINGS, LLC


2. The name, address, telephone number, and email address of the new attorney are (specify):
       Richard M. Pachulski (rpachulski@pszjiaw.com)
       John W, Lucas (jlucas@pszjlaw.com)
       PACHULSKI STANG ZIEHL & JONES LLP, 10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067
       Telephone: 310-277-6910

3.    New attorney hereby appears in the following matters: O the bankruptcy case                                the adversary proceeding


            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California

December 2014                                                           Page 1                                   F 2091-1.SUBSTITUTION.ATTY
  Case 2:22-ap-01125-DS                      Doc 250 Filed 01/24/24 Entered 01/24/24 14:56:21                                                 Desc
                                              Main Document     Page 2 of 4




4. The new attorney is substituted as attorney of record in place instead of the present attorney. (Specify name of
   present attorney):
    John A. Moe, II, Denton US LLP, 601 S. Figueroa St., Ste. 250, Los Angeles, CA 90017,(213)623-9300


Date; 01/16/2024




Signature of party                                                         Signature of second party (if applicable)

 Joe Englanoff, Yogi Securities Holdings, LLC
Printed name of party                                                      Printed name of second party (if applicable)


Signature of third party (if applicable)                                   Signature of fourth party (if applicable)


Printed name of third party (if applicable)                                Printed name of fourth party (if applicable)



I consent to the above substitution.

Date: \\\




Signature of present

 John A. Moe, II
Printed name of present attorney

I am duly admitted to practice in this district. The above substitution is accepted.

Date;    01-24-2024



Signature of new attorney
John W. Lucas
Printed name of new attorney




                                                             IMPORTANT NOTICE

Filing of this Substitution of Attorney form does not replace the need to be employed pursuant to the Bankruptcy Code.
See LBR 2014-1 regarding the requirements and procedures for making an application to employ an attorney.




           This form is optional It has been approved for use in the United Stales Bankruptcy Court for the Central District of California.

December 2014                                                         Page 2                                   F 2091-1.SUBSTITUTION.ATTY
   Case 2:22-ap-01125-DS                      Doc 250 Filed 01/24/24 Entered 01/24/24 14:56:21                                                 Desc
                                               Main Document     Page 3 of 4




                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is;
1 Sansome Street, Ste. 3430, San Francisco, CA 94132

A true and correct copy of the foregoing document entitled: SUBSTITUTION OF ATTORNEY will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2{d); and (b) in the manner stated below:

1, TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (c/afe)
 01/24/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                      X Service information continued on attached page
                                                                                      Q

2. SERVED BY UNITED STATES MAIL:
On (date),               , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                      D Sen/ice information continued on attached page

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to. the judge will be completed no later than 24 hours after the document is
filed.




                                                                                      □ Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 01/24/2024         Hung Phan
  Date                         Printed Name                                                     Signature




           This form is optional. It has been approved for use in the United Slates Bankruptcy Court for the Central District of California,

December 2014                                                          Page 3                                   F 2091-1.SUBSTITUTION.ATTY
Case 2:22-ap-01125-DS       Doc 250 Filed 01/24/24 Entered 01/24/24 14:56:21    Desc
                             Main Document     Page 4 of 4



   •   Kyra E Andrassy kandrassy@raineslaw.com,
       bclark@raineslaw.com;jfisher@raineslaw.com
   •   Todd M Arnold       tma@lnbyg.com
   •   Ryan Coy       rcoy@bg.law, ecf@bg.law
   •   Max Fabricant      mfabricant@lavelysinger.com
   •   Thomas M Geher        tmg@jmbm.com, bt@jmbm.com;tmg@ecf.courtdrive.com
   •   David B Golubchik      dbg@lnbyg.com, dbg@lnbyg.com
   •   Jonathan Gottlieb     jdg@lnbyg.com
   •   John A Moe john.moe@dentons.com,
       glenda.spratt@dentons.com;derry.kalve@dentons.com
   •   Joseph M Rothberg      jmr@lnbyg.com, jmr.LNBYG@ecf.inforuptcy.com
   •   Paul Sorrell    psorrell@lavelysinger.com, mdsinger@lavelysinger.com
   •   Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;NEF-
       BK@gtlaw.com;howard-steinberg-6096@ecf.pacerpro.com
   •   United States Trustee (LA)    ustpregion16.la.ecf@usdoj.gov
   •   Johnny White      JWhite@wrslawyers.com, jlee@wrslawyers.com
